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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE


                                                )
ANTHONY BELISLE,                                )
                                                )
                      Plaintiff,
                                                )
v.                                              )
                                                    Civil Action No. 1:19-cv-00189 (LM)
                                                )
MARKEL CATCO INVESTMENT                         )
MANAGEMENT LTD AND MARKEL                       )
CORP.,                                          )
                                                )
                      Defendants.               )
                                                )


                 FIRST AMENDED COMPLAINT AND JURY DEMAND

       Plaintiff, Anthony Belisle, brings this First Amended Complaint against Markel CATCo

Investment Management Ltd (“Markel CATCo”) and Markel Corp. (“Markel” or, collectively

with Markel CATCo, “Defendants”).


                                         OVERVIEW

       1.      This action arises from the improper and unlawful actions of Markel, as well as its

wholly owned subsidiary Markel CATCo and others acting at Markel’s behest, through which

Defendants have refused to make vested incentive payments due to Plaintiff in the amount of

$65,950,000, and tarnished Plaintiff’s reputation to prevent him from competing with Markel or

Markel CATCo in the future. The Defendants have employed unlawful, unfair and deceptive

means to achieve these ends.       Among other things, they wrongfully terminated Plaintiff’s

employment based on a pretextual, purported violation of company policy that was not in fact a

violation of the policy at the relevant time; they amended the same policy just days before the
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termination but after the incentive payments had vested, in an apparent attempt to create a

justification for their action; they took these actions to the decided detriment of the investors in

the funds managed by Markel CATCo; they trumpeted a pretextual reason for the termination

publicly to divert attention from the real, and wrongful reasons; they implied in the public

announcement that the termination somehow related to a Government inquiry regarding loss

reserves, when it did not, in an attempt to ensure that Plaintiff’s reputation would be damaged so

that he could not compete with Markel in the future; and, in conducting all such activities, they

maliciously, intentionally, with reckless disregard for the truth, and/or negligently caused

irreparable and foreseeable harm to Plaintiff and his good reputation.

        2.      Markel has also failed to comply with its obligations under Markel CATCo’s bye-

laws to indemnify and hold harmless Plaintiff in his capacity as a former director of Markel

CATCo with respect to the same Government inquiry, causing additional, ongoing harm to

Plaintiff.

        3.      Plaintiff has over 33 years of pension, insurance, and capital markets experience.

He has been a Fellow of the Society of Actuaries since 1994. On September 9, 2015, QIC, the

Qatari entity that then owned CATCo, sold the Bermuda reinsurance investment company

created and developed by Plaintiff to Markel. In conjunction with, and integral to, the sale, and

in reasonable reliance on assurances by Markel, Plaintiff entered into an employment agreement

with Markel CATCo, attached hereto as Ex. 1 (the “Employment Agreement”). Pursuant to the

Employment Agreement, Plaintiff was to remain with CATCo for a period of at least three years

and receive an incentive compensation structure comprised of, among other elements, a

Continued Service Element (“CSE”) and a Performance Element (“PE”) (collectively, the

“Incentive Payments”). The CSE and PE were scheduled to vest fully on December 31, 2018. If



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Plaintiff remained employed in good standing on December 31, 2018, the last payments, totaling

$65,950,000, were to be made by Markel CATCo on or before January 30, 2019.

       4.      Notwithstanding that commitment, as the deadline approached for Markel CATCo

to pay the significant final Incentive Payments, after attempting but failing to persuade Plaintiff

to forego, materially reduce, or materially delay the last payments, Markel used its ownership

and control of its wholly owned subsidiary Markel CATCo to contrive a scheme to avoid

payment of the $65,950,000 Incentive Payments that it owed.

       5.      On January 18, 2019, after Plaintiff rejected repeated entreaties by Markel to

reduce or forfeit his promised Incentive Payments, Markel reconstituted the Markel CATCo

Board with its own captive directors in order to cause Markel CATCo to terminate the

employment and directorships of both Plaintiff and Markel CATCo’s Chief Executive Officer-

Bermuda, Alissa Fredricks (“Ms. Fredricks”). Defendants claimed that the terminations were

“for cause,” and were based upon an undisclosed personal relationship between Plaintiff and Ms.

Fredricks. Even though Plaintiff’s Incentive Payments had already vested at that time, and were

clearly due and owing under the terms of the Employment Agreement, Markel refused to satisfy,

or to allow Markel CATCo to satisfy, the payment obligations.

       6.      In conjunction with the termination of Plaintiff’s employment, in a manner that

ensured that Plaintiff would be critically impaired in any efforts to compete with Markel CATCo

in the future, Markel publicly announced the termination and the false, pretextual grounds upon

which it purportedly was based, and at the same time falsely intimated that Plaintiff’s

termination was also related to an ongoing government inquiry of Markel CATCo (the

“Government Inquiry”) that had been in process since November 30, 2018 relating to loss

reserves. The terminations in fact had nothing to do with the on-going Government Inquiry, as



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indicated in the termination letters and in Markel’s statements to the Markel CATCo Board at the

time of the termination.

       7.      Plaintiff continues to suffer harm with respect to the same on-going Government

inquiry. Plaintiff was a director of Markel CATCo before his unlawful termination, and Markel

CATCo’s bye-laws explicitly require the company to indemnify and hold harmless directors and

officers in connection with the duties they performed on behalf of the company. Plaintiff has

retained counsel in connection with the Government Inquiry, but Markel CATCo has refused to

respect the promises in its own governing documents to reimburse Plaintiff for the expenses

incurred.

       8.      In addition, Markel, through its agent Skadden, Arps, Slate, Meagher & Flom

LLP (“Skadden”), has repeatedly refused to permit Plaintiff to participate with Markel and

Markel CATCo in the Government Inquiry, despite the fact that he and Ms. Fredricks are the two

people with greatest knowledge of the loss reserve process that is involved in that inquiry.

Markel has further refused to permit Plaintiff to see any of the documents that it has turned over

to the Government, including those to, from, or about Plaintiff, unless he agrees to a stay of this

lawsuit pending all or some unspecified part of the Government Inquiry. Markel has thereby

effectively prevented Plaintiff from speaking on his own behalf to the Government, which he

cannot as a practical matter do without knowing the context in which his comments would be

received.

       9.      Defendants’ assertion of total control over participation in the Government

Inquiry has caused, and is causing, continued harm to Plaintiff’s reputation, and has placed him

in a state of limbo in terms of seeking new employment.




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       10.    Plaintiff now brings this action to enforce his rights, including his right to the

final Incentive Payments, under his Employment Agreement, under Markel CATCo’s bye-laws,

and under the law, and to recover for additional damages suffered as a result of Defendants’

unlawful conduct.


                                           PARTIES

       11.    Plaintiff is an individual with a principal residence in Florida, who previously

resided in New Hampshire until January 2017, for which reason his Employment Agreement

includes a New Hampshire forum selection clause.

       12.    Defendant Markel CATCo Investment Management Ltd. is a Bermuda exempted

company with limited liability. Markel CATCo’s principal place of business is in Hamilton,

Bermuda, and it conducts business all over the world.        Markel CATCo is a party to the

Employment Agreement containing the New Hampshire forum selection clause.

       13.    Defendant Markel Corporation is a corporation organized under the laws of the

Commonwealth of Virginia. Markel’s principal executive offices are located in Glen Allen,

Virginia, and it likewise conducts business all over the world, including in New Hampshire.

Markel is, and has been since the purchase of CATCo, the 100% owner of Markel CATCo.

Before January of 2019, Markel allowed Markel CATCo to operate essentially autonomously,

with its own Board of Directors and with control vested in the executive officers of Markel

CATCo. However, on or about January 17 or 18, 2019 Markel assumed control of Markel

CATCo by placing five captive Markel Directors on the Markel CATCo Board, creating an

instant majority, in order to terminate Plaintiff’s and Ms. Fredricks’ employment. Since at least

that point in time, Markel has been an alter ego to, or the principal in a principal/agent

relationship with, Markel CATCo.


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                                JURISDICTION AND VENUE

       14.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332 because there is complete diversity of citizenship between Plaintiff and Defendants.

Markel and Markel CATCo are citizens of a different state and a foreign state, respectively, and

the matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

       15.     This Court also has personal jurisdiction over Defendant Markel CATCo because,

among other things, Markel CATCo consented and agreed to the exclusive jurisdiction and

venue of the state and federal courts of New Hampshire to resolve any claims arising under or

relating to the Employment Agreement pursuant to Section 16.1 of the Employment Agreement.

See N.H. Rev. Stat. Ann. § 508-A:2.

       16.     This Court has personal jurisdiction over Defendant Markel because:

             a. Defendant Markel transacted business and contracted with Mr. Belisle in New

                Hampshire on matters directly related to the current dispute, including the

                negotiation of the purchase of CATCo and the negotiation and execution of the

                Employment Agreement.

             b. Defendant Markel has availed itself of the laws of New Hampshire as a third-

                party beneficiary to the Employment Agreement between Mr. Belisle and Markel

                CATCo, Markel’s wholly owned subsidiary, which Markel CATCo signed while

                under Markel’s control.     See Employment Agreement § 14.1.          Pursuant to

                Section 16.1 of the Employment Agreement, Markel’s rights as a third-party

                beneficiary are governed in accordance with the laws of the state of New

                Hampshire.




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             c. On information and belief, Defendant Markel underwrites specialty commercial

                insurance policies on a national basis, with regional sales personnel dedicated

                specifically for New Hampshire residents. Markel’s wholly owned subsidiary,

                Markel Service, Incorporated, is licensed with the New Hampshire Secretary of

                State to conduct business as a foreign for-profit corporation and is described as

                an insurance brokerage.

             d. Markel has been the alter ego of its wholly owned subsidiary, Markel CATCo, at

                a minimum since it seized control of the Board of Directors of Markel CATCo in

                order to terminate Belisle’s employment with Markel CATCo in breach of the

                Employment Agreement.

             e. Markel published defamatory statements regarding Belisle to a global audience,

                causing harm to the personal reputation of Belisle, a current part time and former

                full time New Hampshire resident, and to the business reputation of Belisle with

                respect to his professional and personal acquaintances.

       17.     Venue is proper in the District of New Hampshire because jurisdiction is

exclusively vested in the federal and state courts of New Hampshire pursuant to Section 16.1 of

the Employment Agreement. In addition, venue is proper in this district pursuant to 28 U.S.C.

§§ 1391(b)(2, 3), and 1391(c)(3) because a substantial part of the events giving rise to the claim

occurred in this district, because Defendants Markel and Markel CATCo are subject to personal

jurisdiction in this district with respect to this action, and because Defendant Markel CATCo is

not resident in the United States.




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                                  STATEMENT OF FACTS

       A.      Plaintiff’s Employment Agreement.

       18.     Plaintiff conceived of, and participated in the establishment of, CATCo in July

2010, in conjunction with owner QIC, pursuant to an agreement that provided for 45% of all

profits to belong to Plaintiff and 55% to QIC. In each of the first six years of its existence,

CATCo averaged double digit annual returns for its investors. Based upon Plaintiff’s hard work

in conjunction with his team, his proprietary strategies, and the strong investor and customer

relationships he earned and maintained, Plaintiff turned his vision into a highly successful and

profitable company. When offered a sales price of $205,000,000 by Markel in 2015, Plaintiff

and QIC agreed to the sale of CATCo to Markel.

       19.     On September 9, 2015, QIC completed the sale to Markel of substantially all of

the assets of the two related companies that Plaintiff and QIC had founded – CATCo Investment

Management Ltd. (“CATCo”) and CATCo-Re Ltd. CATCo was an insurance-linked securities

investment manager and reinsurance manager focused on building and managing highly

diversified, collateralized retrocession and reinsurance portfolios covering global property

catastrophe risks. CATCo-Re Ltd. was a provider of reinsurance protection.

       20.     Given Plaintiff’s personal role in the success of CATCo, as well as his network of

relationships with securities brokers, reinsurance brokers, investors and customers, Markel

wished to keep Plaintiff in CATCo’s employ. Indeed, Markel trumpeted in its press release that,

“[t]he existing CATCo management team, led by Chief Executive Officer Tony Belisle, will take

on commensurate roles at Markel CATCo …” operating from Bermuda under Markel’s

ownership. Accordingly, Markel caused the newly formed Markel CATCo to enter into an

Employment Agreement with Plaintiff, whereby he was named Chief Executive Officer of

Markel CATCo. Plaintiff likewise was appointed a director of Markel CATCo at this time.
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Markel CATCo contracted to pay Plaintiff a base salary of $1,000,000 per year and to pay multi-

million dollar incentive payments if he remained through certain target dates. More specifically,

Plaintiff would receive both a Continued Service Element (“CSE”) bonus and a Performance

Element (“PE”) bonus (the “Incentive Payments”) if he (1) complied with the terms of the

Employment Agreement; (2) complied with the terms of a separate noncompetition agreement;

and (3) remained actively and continuously employed in good standing with Markel CATCo

during a specified Retention and Performance Period of January 1, 2016 to December 31, 2018.

Id. Schedule 1. On June 1, 2017, Plaintiff’s Employment Agreement was extended during its

term for two additional years, but with no additional CSE or PE payments. However, the intent

was for Ms. Fredricks eventually to assume sole CEO responsibility for the Markel CATCo set

of companies and for the Plaintiff to develop new investment funds that would result in a

separate employment agreement.      Markel was highly motivated for Plaintiff to extend his

contract by two additional years as it alleviated any concerns that Markel CATCo’s investors

would exit the Markel CATCo investment fund when Plaintiff’s employment ended.

       21.    With respect to the CSE, at the time of sale Plaintiff was given a total gross

aggregate sum of $50,000,000. Plaintiff allocated $12,500,000 of this amount to his team of

other Markel CATCo employees. Plaintiff was entitled to the balance after he allocated to his

team members, to wit: a total gross aggregate sum of $37,500,000, of which he was to earn one-

third (i.e. $12,500,000) on each of the following specified “vesting dates” -- December 31, 2016;

December 31, 2017; and December 31, 2018. Each $12,500,000 installment of the CSE was to

be paid within thirty calendar days after the applicable vesting date (i.e. January 30, 2017;

January 30, 2018; and January 30, 2019, respectively). Id.




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       22.     With respect to the PE, Plaintiff (and, at his discretion, other Markel CATCo

employees) was entitled to a total gross aggregate sum calculated as $50,000,000, which would

be raised or lowered based upon a multiplier that was calculated based upon the fee income

generated by Markel CATCo during the Retention and Performance Period.                The official

multiplier was determined in December of 2018 as 1.55, so that the total PE was $77,500,000.

The plaintiff allocated $17,050,000 to his staff and another $7,000,000 to Ms. Fredricks for a

total allocation to other Markel CATCo employees of $24,050,000. This left the Plaintiff with a

PE of $53,450,000 which was fully vested as of December 31, 2018 and payable no later than

January 30, 2019. Id. Schedule 1. Markel was fully aware that Plaintiff shared his PE bonus

with other employees: Markel approved the allocations, and Markel’s Human Resources (“HR”)

department administered the payments.        In addition, Markel’s Co-Chief Executive Officer

Richard R. Whitt, III, once remarked, “I have done a lot of deals over the years and I have to say

I respect how you have shared ‘the wealth’ with the people that helped you build the business.”

       23.     The Employment Agreement provides that Plaintiff would not be entitled to

receive unearned or unpaid CSE or PE payments in the event that Markel terminated Plaintiff

“for Cause” on or before December 31, 2018 (the final vesting date). Id.

       24.     The Employment Agreement defines “Cause,” in pertinent part, as “failure to

adhere to the Company’s or any of its affiliates’ applicable corporate codes, policies or

procedures, as in effect or amended from time to time.” Id. The Employment Agreement further

specifies that Markel CATCo would not terminate Plaintiff’s employment unless it first gave

Plaintiff notice of, and a reasonable opportunity to cure, any curable grounds for termination. Id.

       25.     At all times during the Retention and Performance Period, Plaintiff (1) complied

with the terms of the Employment Agreement; (2) complied with the terms of a separate



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noncompetition agreement; and (3) remained actively and continuously employed in good

standing with Markel CATCo.

       26.      The Plaintiff and Ms. Fredricks consistently demonstrated the highest levels of

success in performing their duties. At the time that Plaintiff had vested in all due payments, the

combined assets under management (“AuM”) of the funds had grown to $6.2 billion from $2.6

billion at the time of the sale of CATCo to Markel. This was largely due to the accomplishments

of Plaintiff and Ms. Fredricks, who travelled extensively worldwide to raise $2.3 billion of new

capital in the Fall of 2017 and an additional $600 million during 2018. This has been quoted as

one of the largest individual capital raises in the Insurance Linked Securities (“ILS”) market

history. Not only did Plaintiff and Ms. Fredricks perform their jobs well, their capital-raising

achievements were unprecedented in the history of their industry.

       B.       Plaintiff’s Successor.

       27.      In May 2016, Markel CATCo hired Alissa Legenza Fredricks as a Senior

Actuary, working out of Markel CATCo’s office in Wellesley, Massachusetts.

       28.      Ms. Fredricks is extremely accomplished and skilled in astrophysics, actuarial

science and catastrophe risk modeling, among other things; and it quickly became clear to many

at Markel CATCo and Markel that she had the potential for significant promotions to leadership

positions. In July 2016, Plaintiff discussed with Ms. Fredricks the possibility of moving to

Bermuda to ultimately assume the role of Chief Executive Officer – Bermuda, and kept Markel

apprised as a matter of courtesy. As early as December 2016, Plaintiff identified Ms. Fredricks

as his likely successor in an email to Markel Co-CEO Mr. Whitt.

       29.      In March 2017, Ms. Fredricks rented a residence in Bermuda in order to work in

Markel CATCo’s Bermuda office, because of her promotion to the role of Chief Risk Officer.



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       30.    Thereafter, the officers of Markel CATCo and Mr. Whitt discussed having

Ms. Fredricks assume the role as Chief Executive Officer – Bermuda by the end of 2017.

Consistent with those conversations, Ms. Fredricks was formally appointed as Chief Executive

Officer – Bermuda in November 2017.

       31.    Under an addendum to Ms. Fredricks’ Employment Agreement (the “Fredricks

Addendum”), Ms. Fredricks was entitled to receive various incentive payments granted by

Plaintiff from his Incentive Payments. Fredricks Addendum, attached as Ex. 2. For example,

she was entitled to receive a CSE on the following specified “vesting dates” – December 31,

2018; December 31, 2019; and December 31, 2020. Each installment was to be paid within

thirty calendar days after the applicable vesting date (i.e. January 30, 2019; January 30, 2020;

and January 30, 2021, respectively). Id. The total amount of the bonuses was $450,000. As

with other key employees and as explained above, the CSE bonuses were granted by Plaintiff

from his own CSE to certain Markel CATCo employees either at the time of the sale or, for an

employee who joined later, shortly after that employee was hired.

       32.    Also under the terms of the Fredricks Addendum, Ms. Fredricks was entitled to

receive a Retention Bonus of $7,000,000 to be paid in full by March 31, 2019. This Retention

Bonus required Ms. Fredricks to remain continuously employed and in good standing with

Markel CATCo up to and including March 31, 2021. If Ms. Fredricks left the company prior to

March 31, 2021 then she would have to return any unearned portion of the Retention Bonus, as

determined on an after-tax basis. However, if Ms. Fredricks were terminated without cause then

she would immediately become fully vested in her $7,000,000 Retention Bonus and also in the

unpaid balance of her CSE bonuses of $450,000.




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       33.      All CSE, PE and Retention Bonuses payable to staff were granted by Plaintiff

from his own CSE and PE Bonuses with Markel’s full knowledge and consent. Plaintiff notified

Markel Co-CEO Richard Whitt of allocations from his own funds to his team members, and Mr.

Whitt always agreed, including with regard to Plaintiff’s grant of the $7,000,000 Retention

Bonus to Ms. Fredricks.

       C.       The Government Inquiry.

       34.      As with other companies in the same market, Markel CATCo annually established

loss reserves following catastrophic insured loss events through a complex proprietary process

involving actuarial modeling and computations. In 2017, Markel CATCo, again like other funds

in the same market, experienced so-called loss creep in its reserves due to several unpredictable

natural catastrophes, including without necessary limitation Hurricanes Harvey, Irma, Maria, and

the unprecedented 2017 wildfires in California. These natural disasters required Markel CATCo,

and others, to modify their loss reserves in late 2017 and throughout 2018. Markel CATCo

recalculated the necessary loss reserve, and obtained approval of the new loss reserve from the

Company’s auditors, KPMG. In addition, the loss reserves were presented to Markel Co-CEO

Richard R. Whitt, III and to the board of directors of both the private and public funds managed

by Markel CATCo, and all agreed that the loss reserve methodology was sound and that the loss

reserves were sufficient based on the industry loss knowledge available at that time.

       35.      On information and belief, on or about November 30, 2018, Markel was contacted

by U.S. and Bermuda authorities with inquiries regarding loss reserves recorded in late 2017 and

early 2018 at Markel CATCo. No separate outreach was made to Markel CATCo, a Bermuda

entity. In the several weeks following commencement of the Government Inquiry, Markel

shared information only sparingly with Plaintiff and other members of Markel CATCo



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Management. Markel did not immediately inform Plaintiff, Ms. Fredricks, or others at Markel

CATCo of the Government Inquiry. Instead, on or about December 4, 2018, without notice to

Markel CATCo Management, Markel General Counsel Richard Grinnan traveled to Bermuda

along with Skadden attorneys Christopher Gunther and David Zornow, whom Markel retained to

conduct an internal review at Markel CATCo on Markel’s behalf. Markel also brought along

one or more employees of IT vendor Consilio to image devices such as laptops and cell phones

in the possession of the Markel CATCo employees. On the afternoon of December 4, 2018,

without any meaningful advance notice, the representatives from Skadden and Markel arrived at

Markel CATCo, demanded to meet with the entire staff, and immediately began what they

described as an “internal review.”

       36.     Plaintiff was not in Bermuda initially on December 4, 2018 but traveled there that

day from the United States upon learning of these events.

       37.     The Markel and Skadden representatives, without disclosing that they would be

imaging personal communications and communication modes, e.g., WhatsApp, and without

suggesting that the employees had a choice, demanded that all employees, including Plaintiff,

surrender their personal phones and other business and personal electronic devices, to be imaged

and/or searched immediately. Based on these demands and under the mistaken belief that they

had no choice in the matter, Plaintiff and Ms. Fredricks (among others) provided their personal

smartphones and other personal and company-owned devices to Consilio for imaging, believing

that the imaging on the personal cell phones would be limited to company accounts and would

not be extended to personal communications, e.g., via text or WhatsApp.

       38.     Markel CATCo Management inquired of Markel Management whether Markel

CATCo should retain its own counsel, but was discouraged from doing so, purportedly because



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Skadden was much more up to speed. This was consistent with Markel’s alter ego role with

Markel CATCo. Markel CATCo Management logically inferred that Skadden would protect the

interest of both entities, which Markel CATCo Management understood to include the investors

in the funds that Markel CATCo managed. In fact, Skadden was specially retained to conduct an

“internal review” on behalf of Markel, and Markel was more interested in its own image than in

any adverse effect on its wholly owned subsidiary Markel CATCo, or the funds that Markel

CATCo managed.

       39.     Despite the fact that no public announcement was required, Markel indicated its

intention to announce publicly that Markel CATCo was under investigation by an unidentified

department of the United States Government. Markel CATCo’s Management as well as the

Boards of the public and private funds managed by Markel CATCo voiced the view that no

public announcement was required or should be made, particularly given that such an

announcement would be against the interests of the investors in the two funds managed by

Markel CATCo. Markel nonetheless issued a press release on December 6, 2018, gratuitously

disclosing the existence of the Government Inquiry, and stressing that the Government Inquiry

did not “involve other Markel Corporation companies” and that “outside counsel has been

retained to conduct an internal review.” Markel’s issuance of the press release was thus over the

objections of Markel CATCo Management and the Directors of the two funds managed by

CATCo. Although Markel disclosed the identity of the United States agency involved in the

Government Inquiry to numerous individuals and entities outside Markel and Markel CATCo,

including the Boards of the funds managed by Markel CATCo, and the latter’s trustee, outside

law firm, auditor and fund administrator, they did not include that information in the press

release.



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       40.    In the first trading day following the December 6 announcement Markel’s stock

price dropped nearly 9%, representing more than $1 billion of market capitalization; and

shareholder lawsuits were filed against Markel. Further, Markel CATCo’s publicly traded fund

was severely impacted with the ordinary share price dropping nearly 40% in one day.

       41.    Plaintiff fully cooperated with the internal review and participated in interviews

with Skadden lawyers as and when requested, but neither Plaintiff nor Ms. Fredricks was

permitted to participate in the Government Inquiry itself. Despite Plaintiff’s role as a founding

principal of CATCo and Chief Executive Officer of Markel CATCo, Markel did not provide him

– and indeed, to this day has refused to provide him – with more than cursory information about

the scope, progress or status of the Government Inquiry.

       42.    Markel’s unwillingness to involve either Plaintiff or Ms. Fredricks in the

Government Inquiry was short sighted and contrary to the best interests of Markel CATCo, the

investors in the two funds managed by Markel CATCo, and the Markel CATCo employees and

management team, including Plaintiff. Nevertheless, Markel initially discouraged the efforts of

Plaintiff and Ms. Fredricks to participate in the Government Inquiry, even on their own behalf.

After the filing of this lawsuit, Markel indicated through counsel that they were free to do what

they wished on their own behalf, but refused to provide them with, or identify, documents that

Markel had provided to the Government agency, even with regard to documents or

communications to, from or about them, unless they agreed to stay their lawsuits pending the

outcome of the Government Inquiry. In addition, Markel took affirmative steps to ensure that

they had no access to, and could not make use of, any such documents.

       43.    Even without more detailed information regarding the precise scope of the

Government Inquiry, Plaintiff is confident that there was no wrongdoing with respect to Markel



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CATCo’s loss calculations.       The estimation of loss reserves is, however, an extremely

complicated and specialized area. In light of this fact, both Plaintiff and Ms. Fredricks have been

anxious to provide as much information as possible so that Skadden and the government agency

understand the process and the actions that Markel CATCo took in making loss estimations and

reports.    Among other things, Plaintiff and Ms. Fredricks have offered to speak to the

government agency regarding these issues. Markel has never accepted that proposal.

       D.      Markel’s Efforts to Avoid the Impending Obligation to Pay Plaintiff
               $65,950,000.

       44.     As Markel’s own stock price fell nearly 9% the day after the announcement,

representing more than $1 billion in market valuation, and continued to fall by nearly 17%

throughout December 2018, Markel’s executives, including Co-CEO Whitt and General Counsel

Richard Grinnan, requested that Plaintiff delay or forfeit the incentive CSE and PE compensation

payments that were scheduled to vest on December 31, 2018.

       45.     On December 13, 2018, during a telephone call between Plaintiff, Whitt, and

Grinnan, among others, Whitt expressed “concerns” about the “optics” of Plaintiff receiving his

Incentive Payments in light of the Government Inquiry. However, Whitt stated that all Markel

CATCo employees, specifically including Ms. Fredricks, would “definitely” receive their

Incentive Payments per their employment agreements. Whitt then confirmed that the Plaintiff

could communicate confirmation of the Incentive Payments to the entire staff, including Ms.

Fredricks, immediately following this telephone call, which Plaintiff did. Plaintiff and Whitt

agreed to discuss possible deferral of the Plaintiff’s Incentive Payments shortly thereafter.

       46.     On December 28, 2018, Markel sent Plaintiff a proposed amendment to the

Employment Agreement whereby Plaintiff would potentially forfeit, based on the findings of the




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Government Inquiry, or defer the Incentive Payments that were scheduled to vest just two days

later, on December 31, 2018. Plaintiff rejected the proposed amendment.

        47.     On December 31, 2018, Plaintiff’s Incentive Payments fully vested. As a result,

Markel owed Plaintiff a CSE payment of $12,500,000, and a PE payment, after application of a

multiplier of 1.55, of $53,450,000 (the additional $24,050,000 that would have been payable to

Plaintiff having been voluntarily allocated by him to other members of the Markel CATCo

management team). Both sums were payable on or before January 30, 2019.

        48.     On January 4, 2019, during a telephone call between Plaintiff, Whitt, and

Grinnan, Whitt again requested that Plaintiff delay his Incentive Payments. However, Whitt,

once again, acknowledged that Plaintiff’s CSE and PE were fully vested, without possibility of

forfeit, and promised that Markel would pay the Incentive Payments on or before January 30,

2019, if the Plaintiff insisted.

        49.     Based on Markel’s request and continued promise conveyed through Whitt that it

would comply with its legal obligations to Plaintiff, on January 6, 2019 Plaintiff conveyed an

offer to Markel that he would agree to defer receipt of a portion of the Incentive Payments (the

“January 6 Proposal”). Whitt did not respond for over one week.

        50.     Plaintiff made the January 6 Proposal, and otherwise conducted the

communications and negotiations regarding his Incentive Payments, in good faith. The same is

not true for Markel. At some point during the negotiations, Markel decided that, instead of

deferring payment, as it had repeatedly represented was its goal, Markel was going to find an

excuse to avoid making the Incentive Payments to Plaintiff altogether.

        51.     By means of an unauthorized and unlawful invasion of Plaintiff’s privacy, Markel

found its purported justification for depriving Plaintiff of tens of millions of dollars that were due



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and owing to him: On or shortly after December 4, 2018, Markel, with the assistance of vendors,

accessed and then reviewed personal and private communications on electronic devices that they

had demanded that Plaintiff and Ms. Fredricks provide for imaging, purportedly for use in the

Government Inquiry.     This review occurred despite the fact that Defendants did not have

permission from Plaintiff or Ms. Fredricks to conduct a review of their personal, non-company

accounts on their personal devices.

       52.     Markel’s deceptive actions undertaken in an attempt to avoid Markel CATCo’s

obligations to Plaintiff, which would immediately impact Markel’s profits from Markel CATCo,

did not end there. Representatives of Markel began asking probing questions, including of Ms.

Fredricks, about portfolio strategy and how the business operates. On information and belief,

these actions were part of the coordinated scheme to remove Plaintiff and Ms. Fredricks from

their positions and avoid making the Incentive Payments, while, at the same time, providing

Markel with information about the portfolio strategy and how the Markel CATCo business

operates in order to run the company after Plaintiff and Ms. Fredricks were no longer employed.

       53.     As a further apparent step in this scheme, on January 11, 2019, Whitt had a lunch

meeting with Robert Vrolyk, a member of Markel CATCo’s Board of Directors. Although the

meeting was supposedly just an opportunity to get to know Vrolyk, during the meeting, Whitt

expressed unfounded concerns regarding the sustainability of Markel CATCo’s value. Whitt

also made inquiries concerning Plaintiff’s “personal integrity.” Vrolyk informed Whitt that he

had known Plaintiff for 32 years, and placed Plaintiff’s integrity “above all others.” Despite the

questions that appeared designed to elicit negative information regarding Plaintiff or create an

impression in Vrolyk’s mind that Plaintiff engaged in some kind of wrongdoing, Whitt falsely

informed Plaintiff that the meeting had been “purely social.” Vrolyk shared the meeting content



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with the Plaintiff and Nigel (“Niall”) Barton, the Chairman of Markel CATCo’s Board of

Directors. Both the Plaintiff and Barton were quite concerned over the questioning directed at

Vrolyk by Whitt.

       54.      On January 11, 2019, during a telephone call between Plaintiff and Whitt, Whitt

stated that he had met with Vrolyk in a “purely social” visit. In addition, Whitt stated that he

would agree to Plaintiff’s January 6 Proposal. Whitt further stated that before formalizing the

proposal and the payment structure, Skadden first required one more interview with Plaintiff in

Bermuda, concerning the Government Inquiry. All of these statements were false and pretextual.

       55.      On January 13, 2019, Markel Corp’s HR department, which provided shared

services for Markel CATCo, informed all Markel CATCo employees, including Plaintiff, that

they would receive their respective Incentive Payments on January 30, 2019.

       E.       The Skadden “Interview”.

       56.      On or about January 15, 2019, attorneys from Skadden contacted Plaintiff to

schedule the interview addressed above. Skadden disingenuously described the interview as a

“follow-up” to earlier interviews between Skadden and Plaintiff concerning the Government

Inquiry.

       57.      Skadden scheduled an interview with Ms. Fredricks for later that same day. Ms.

Fredricks was also disingenuously informed by Skadden that the “interview” would be a

“follow-up” to earlier interviews in which she participated, arising from the Government Inquiry.

       58.      The “interviews” occurred on January 17, 2018. Although each interview began

with an initial, fairly high-level discussion regarding loss reserves, Plaintiff quickly realized that

the meetings were not scheduled for the purpose of learning information about that topic.

Instead, Skadden informed Plaintiff that Markel or others on its behalf had accessed his personal



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communications without his knowledge, and, based on communications they had improperly

accessed, accused Plaintiff of engaging in an undisclosed personal relationship with Ms.

Fredricks. Skadden claimed that the existence of the relationship was a violation of Markel’s

Code of Conduct and Plaintiff’s Employment Agreements, although no such prohibitions existed

in the Agreements or in the Code as it existed on December 31, 2018, which was the last Code

provided to and signed by Plaintiff and Ms. Fredricks. Skadden made similar accusations against

Ms. Fredricks in their meeting later that morning.

       59.      Markel and Skadden demanded that Plaintiff and Ms. Fredericks surrender their

phones and other electronic devices a second time, to be imaged again. Plaintiff and Ms.

Fredricks were again told, incorrectly, that even if a device was personal – such as a personal

smartphone that the employees had purchased with their own money – they were required to

provide it to be imaged. Based on these demands and under the continued, mistaken belief that

they had no choice, Plaintiff and Ms. Fredricks provided their personal smartphones and other

devices to Consilio for imaging.

       F.       Markel’s Code of Conduct.

       60.      Prior to January 1, 2019, Markel’s Code of Conduct, which Markel contends is

applicable to its subsidiaries such as Markel CATCo, did not contain a provision prohibiting or

discussing personal relationships between employees.        See Ex. 3 (the “Pre-2019 Code of

Conduct”). The existing Code of Conduct had a section regarding “Conflicts of Interest,” but the

text and examples made it clear that Markel’s Pre-2019 Code of Conduct related to business

relationships that could give rise to business conflicts of interest. By its own terms the Pre-2019

Code of Conduct was intended “to guide . . . business dealings.” Id. at 4. The code expressly




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clarifies that it “is not a contract of employment and does not create any contractual rights of any

kind between the Company and its Associates, Executive Officers or Directors.” Id. at 7.

       61.     At some time on or about December 4, 2018, after imaging Plaintiff’s and Ms.

Fredricks’ personal cell phones, including their personal accounts on those phones, Defendants

became aware that Plaintiff and Ms. Fredricks had developed a personal relationship. On

December 31, 2018, Plaintiff’s Incentive Payments fully vested and his Retention and

Performance Period concluded. Thereafter, Markel, without the knowledge of Markel CATCo

Management or the Markel CATCo Board, purported to amend its own Code of Conduct, to

which it claims Markel subsidiaries were subject, to include “[h]aving a relationship with another

Employee in the Company when one Employee directly or indirectly supervises the other

Employee” as a potential or actual “Conflict of Interest.” See Ex. 4 (the “Substitute Code of

Conduct”). The Substitute Code of Conduct bears the date January 2019 and appears to have

been first posted online on January 7, 2019, even though it had not been adopted by Markel

CATCo. The Substitute Code of Conduct contains a disclaimer like the prior version, which

makes clear that it “is not a contract of employment and does not create any contractual rights of

any kind between the Company and its Employees, Executive Officers or Directors.” Id. at 4.

Plaintiff and Ms. Fredricks were never given the opportunity to review or sign the Substitute

Code of Conduct, nor were they even aware of its existence before their termination, even

though they were both officers and directors of Markel CATCo. The provision regarding

personal relationships did not exist in prior versions of the Code of Conduct, which Plaintiff and

Ms. Fredricks did sign.

       62.     At no time did any relationship between Plaintiff and Ms. Fredricks result in an

improper conflict of interest, or create a situation that in any way interfered with or influenced



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Plaintiff’s contribution to Markel, or impeded his ability to perform his work objectively and

effectively. To the contrary, the promotions of Ms. Fredricks discussed above were all in

process before any personal relationship began, and Ms. Fredricks’ Incentive Payment was not

from Markel CATCo funds but was, rather, granted by Mr. Belisle from his own Incentive

Payment, i.e., as he customarily did with his key team members, he reduced his own payment by

causing a well-earned portion to be due to her.

       63.      In addition, at the time of Ms. Fredricks’ promotion to CEO - Bermuda, her salary

was increased accordingly as prior to that time her salary was significantly less than many of her

direct reports. At all times, any changes in salary for Ms. Fredricks were approved by Whitt and

HR at Markel. Further, Ms. Fredricks’ most recent salary change was subject to a review of

comparable roles at peer companies and was ultimately approved by both Whitt and Markel’s

HR and Compensation departments. As such, Ms. Fredricks’ salary changes were fair and

appropriate for the significant leadership role she had assumed at Markel CATCo, which

Markel’s Compensation team had confirmed by means of an independent review.

       F.       Plaintiff’s Termination.

       64.      On January 18, 2019, through corporate maneuvering that was not shared with

Plaintiff or Ms. Fredricks (despite the fact that they were both directors of Markel CATCo),

Markel caused the election of five new, additional members to the Markel CATCo board, whose

terms were to commence immediately. All of the new members were under the control of

Markel. Markel CATCo then convened a meeting of the Board of Directors, five of whom were

directly controlled by Markel and four of whom, including Plaintiff and Ms. Fredricks, were not.

       65.      Notwithstanding the provision in Mr. Belisle’s Employment Agreement whereby

Markel was obligated to give him notice and a reasonable opportunity to cure before terminating



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his employment, Plaintiff and Ms. Fredricks were informed during the Board meeting that they

were terminated, effective immediately, and that their respective Incentive Payments would not

be paid. The two actual Markel CATCo Board members apart from Plaintiff and Ms. Fredricks

declined to vote, and the terminations were carried out by the newly appointed Markel-sponsored

“directors.”

       66.     Plaintiff offered to “cure” any perceived conflict of interest (although no such

conflict existed) by resigning immediately, while Ms. Fredricks could continue on as Chief

Executive Officer of Markel CATCo. With Plaintiff departed from the employ of Markel

CATCo, no conflict could possibly exist. Plaintiff expressed concerns to the newly constituted

Board that, given the crucial roles that he and Ms. Fredricks played, Markel CATCo could be

rendered unable to survive, and the investors in the funds it managed harmed, if he and Ms.

Fredricks were both terminated. The newly appointed directors ignored the entreaty, and denied

Plaintiff his contractual opportunity to cure the purported grounds for the termination of his

employment.

       67.     On January 18, 2019, Plaintiff received a Notice of Termination of Employment

from Grinnan, which specified that Plaintiff had been terminated for “Cause, as defined in [his]

Employment Agreement.” The notice includes the baseless claim that Plaintiff “breached the

Employment Agreement prior to December 31, 2018 and [was] not in good standing with

[Markel CATCo] as of that date.” Therefore, Grinnan concludes, Plaintiff was ineligible for, and

would not receive, any unpaid Incentive Payments – despite the facts that the payments had

already vested weeks before the termination and that the Code of Conduct as it existed on the

vesting date contained no prohibition against personal relationships.




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       68.     Markel provided a similar message to Ms. Fredricks, and has denied her any of

her unpaid Incentive Payments, although, as the subordinate in the personal relationship, her

conduct could not have been a terminable offense even if the hastily revised January 2019

Substitute Code of Conduct could be deemed to apply.

       69.     Later that same day, Markel issued a press release in which Markel falsely stated

that Plaintiff had violated Markel policies as a result of his relationship with Fredricks. Markel

did not disclose that the Code of Conduct had just been amended days earlier in January 2019 to

provide a previously non-existent basis for terminating Plaintiff’s employment, or that the

Substitute Code of Conduct had never been shown to or signed by Plaintiff. The press release

further implied – falsely – that Plaintiff’s termination was also somehow related to the

Government Inquiry.

       70.     On information and belief, on or about January 29, 2019 Markel CATCo

convened a call with over 100 attendees, including investors and staff in the funds managed by

Markel CATCo. The President and Chief Underwriting Officer of Markel Global Reinsurance,

Jed Rhoads, who was appointed as the interim head of Markel CATCo, began the call by stating

that no questions would be taken and that the purpose was to address why Plaintiff’s and Ms.

Fredricks’ employment had been terminated. Markel representatives went on to say that during

the Government Inquiry, Markel uncovered the fact that Plaintiff and Ms. Fredricks had engaged

in an undisclosed personal relationship, including during a period when Plaintiff was setting her

salary and bonuses. No mention was made that the salaries and bonuses were approved by

Markel, that Ms. Fredricks’ salary upon being appointed CEO-Bermuda had been determined

after a survey of comparable positions, or that the bonuses were from Plaintiff’s own funds, not

those of Markel or Markel CATCo. Nor did the Markel representatives note that the bonuses



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were fully in line with Ms. Fredricks’ position as Markel CATCo CEO-Bermuda, the highest

position behind Plaintiff’s own and one for which Ms. Fredricks was selected before any

personal relationship existed.

       71.     These statements and others that Markel and its agents have made are false and

misleading, and portray a supposed conflict of interest that did not occur and a violation of a

corporate policy that did not exist.

       72.     Defendants’ conduct was wanton, malicious, motivated by ill will and hostility

and calculated to lead to a financial gain of tens of millions of dollars. Defendants (a) developed

a concerted plan, after invading Plaintiff’s privacy, to alter Markel’s Code of Conduct

surreptitiously as a pretextual basis to terminate Plaintiff’s employment without notice or

opportunity to cure, thereby denying him substantial benefits under his Employment Agreement;

and (b) implemented the plan immediately after Plaintiff declined to forego voluntarily the

Incentive Payments to which he was contractually entitled.           Moreover, Defendants then

proceeded to invade his privacy further by publicly announcing the occurrence of a private

personal relationship, falsely stating that the relationship constituted a conflict of interest in

violation of a policy that did not exist, and falsely implying that the termination was also related

to the Government Inquiry. All of this conduct was undertaken in an apparent attempt to cover

up the actual monetary reason for Plaintiff’s termination, and with the apparent goal of clouding

his reputation to prevent or materially impair his ability to compete with Markel CATCo after his

termination.

       73.     Following the termination and other improper actions, Markel General Counsel

Richard Grinnan wrote to Plaintiff on January 21, 2019, and demanded that Plaintiff again turn

over personal devices to Consilio. Despite the fact that litigation regarding Plaintiff’s improper



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termination was likely, and despite the fact that Plaintiff may have had his own preservation

obligations, Grinnan’s letter announced that Consilio was going to image and then “delete

information pertaining to the Company and its affiliates from the devices.” The letter also

falsely indicated that it was subject to the attorney/client privilege and work product protection.

       74.     Thereafter, Skadden reiterated the demand on behalf of Markel and Markel

CATCo that Plaintiff provide personal devices to Consilio.          Ultimately, in order to avoid

immediate litigation, Plaintiff reached an agreement with Markel and Markel CATCo that his

attorney would hold the vast majority of the information in escrow, and that neither Plaintiff nor

his counsel would access the information unless and until they provided five (5) business days’

notice before doing so.

       G.      Markel CATCo Refuses to Indemnify Plaintiff.

       75.     Following the abrupt derogation of his contract rights under the Employment

Agreement, Plaintiff retained counsel to represent him, not only in connection with those

contract rights, but also in connection with the Government Inquiry. Plaintiff understands that

the Government Inquiry is focused on Markel CATCo’s calculation of loss reserves during 2017

and 2018, when Plaintiff was CEO of Markel CATCo. In addition, Markel CATCo appointed

Plaintiff to its Board of Directors when Markel purchased CATCo in 2015.

       76.     Plaintiff’s conduct was legal and appropriate in every respect. Nevertheless, his

service on behalf of Markel CATCo is necessarily involved in the Government Inquiry, and

Plaintiff understands that Markel and Markel CATCo have produced thousands of pages of

documents involving Plaintiff in response to the Government Inquiry.




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       77.     Paragraph 52.1 of the Bye-Laws of Markel CATCo dated June 2, 2016 (the “Bye-

Laws”) (attached hereto as Ex. 5) expressly provides for indemnification of its directors and

officers for conduct performed on behalf of Markel CATCo:

               The Directors, Secretary and other Officers . . . for the time being
               acting in relation to any of the affairs of [Markel CATCo] . . . shall
               be indemnified and secured harmless out of the assets of [Markel
               CATCo] from and against all actions, costs, charges, losses,
               damages and expenses which they . . . shall or may incur or sustain
               by or by reason of any act done, concurred in or omitted in or
               about the execution of their duty, or supposed duty, or in their
               respective offices or trusts . . . .

Plaintiff agreed to serve in his positions as officer and director of Markel CATCo with

knowledge of Markel CATCo’s bye-laws, and with the understanding that he would be entitled

to be indemnified and held harmless pursuant to this indemnification provision.

       78.     Plaintiff, through counsel, formally requested that Markel CATCo honor its

indemnity obligation to him in connection with the Government Inquiry on February 12, 2019,

both with respect to attorneys’ fees already incurred and fees to be incurred in the future. On

February 15, 2019, Markel and Markel CATCo denied his request, stating that their obligation to

indemnify Plaintiff is discretionary. Markel and Markel CATCo have denied additional, follow-

up requests as well.

       79.     Markel CATCo has not honored its indemnity obligation to date. Moreover, the

Government Inquiry by its nature is indefinite with respect to its scope and the timing of its

conclusion. Therefore, by refusing to guarantee reimbursement of Plaintiff’s fees by a date

certain, Defendants effectively have repudiated their obligation to indemnify and hold harmless

Plaintiff going forward.

       80.     Moreover, Defendants have frozen Plaintiff out of the Government Inquiry from

its very outset and up to the present.


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          81.   As discussed above, Plaintiff, as Markel CATCo’s founder and CEO, was viewed

within Markel CATCo as an expert with respect to loss reserves and recognition. Plaintiff

necessarily has unique factual knowledge concerning the matters at issue in the Government

Inquiry.

          82.   Nevertheless, Defendants through their counsel rebuffed Plaintiffs’ offers and

attempts to participate more directly in the Government Inquiry during his employment and have

continued to do so through the present. Among other things, Defendants have refused through

counsel to identify to Plaintiff’s counsel which of Plaintiff’s documents have been disclosed in

connection with the Government Inquiry or otherwise explain how the Defendants are

responding to the Government Inquiry, unless Plaintiff will agree to stay this civil litigation and

Ms. Fredricks will agree to stay her separate litigation in the U.S. District Court for the District

of Massachusetts.

          83.   The Government Inquiry, which Markel gratuitously publicized in the first

instance, has had negative consequences for Plaintiff, casting a pall over Plaintiff’s future

employment prospects that will continue until the Government Inquiry is resolved. The fact that

Plaintiff has been unfairly shut out of the process and been denied access to documentary

evidence places him in an untenable position because he is effectively prevented from seeking

other employment in his field. Markel is thus precluding him from competing with its wholly

owned subsidiary Markel CATCo, whose profits redound to Markel’s benefit.

                                  COUNT I
                BREACH OF CONTRACT (MARKEL AND MARKEL CATCo)

          84.   Plaintiff incorporates by reference Paragraphs 1 through 83 as if set forth fully

herein.




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        85.    Beginning on September 9, 2015, Plaintiff undertook employment with Markel

CATCo pursuant to the terms of the Employment Agreement.

        86.    The Employment Agreement is a valid and enforceable agreement governed by

the laws of the State of New Hampshire. See Employment Agreement § 16.1.

        87.    Plaintiff performed his obligations under the Employment Agreement in every

material respect, up through and including December 31, 2018.

        88.    Pursuant to the Employment Agreement, Plaintiff’s Incentive Payments vested on

December 31, 2018, and Markel CATCo was obligated to pay them on or before January 30,

2019.

        89.    Markel CATCo has not remitted the Incentive Payments to Plaintiff and has

repudiated its obligations to pay the Incentive Payments, thereby breaching the Employment

Agreement and causing harm to Plaintiff as a result.

        90.    In addition, Markel CATCo breached the Employment Agreement by terminating

Plaintiff without providing him with notice and an opportunity to cure his alleged—and

unfounded—breach of the Employment Agreement.

        91.    Markel is a third-party beneficiary of the Employment Agreement and therefore

bound by its terms. See Employment Agreement § 14.1.

        92.    As described above, by virtue of its conduct from the time that Markel CATCo

was formed, Markel became an alter ego to its wholly owned subsidiary Markel CATCo.

        93.    Among other conduct, Markel assumed control of the Markel CATCo Board of

Directors in January 2019 in order to terminate Plaintiff’s employment and avoid the hefty

Incentive Payments owed to him as of December 31, 2018, and to control the messaging




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surrounding the termination in a manner designed to ensure that Plaintiff could not compete with

Markel CATCo after the termination.

          94.   By its unilateral exercise of control of its wholly owned subsidiary as of

January 17 or 18, 2019, and the other actions described above, Markel demonstrated that it has

been Markel CATCo’s alter ego at least since that time.

          95.   Markel, through its alter ego Markel CATCo, materially breached Plaintiff’s

Employment Agreement (a) by causing Markel CATCo to repudiate its obligation to pay

Plaintiff’s Incentive Payments under the Employment Agreement, and (b) by terminating

Plaintiff’s employment without providing him with notice and an opportunity to cure his

alleged—and unfounded—breach of the Employment Agreement.

          96.   Alternatively, Markel’s control of Markel CATCo created an agency relationship

whereby Markel CATCo’s acts as an agent are attributable to Markel as the principal.

          97.   Markel CATCo acted as Markel’s agent with respect to Markel CATCo’s

breaches of the Employment Agreement, and Markel is liable for those breaches as Markel

CATCo’s principal.

          98.   In sum, Markel is liable along with Markel CATCo for the breach of Plaintiff’s

Employment Agreement either because Markel CATCo is the alter ego of Markel CATCo or

because Markel was the principal on whose behalf its agent Markel CATCo acted in breaching

the Employment Agreement.

                            COUNT II
  BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
                   (MARKEL AND MARKEL CATCo)

          99.   Plaintiff incorporates by reference Paragraphs 1 through 98 as if set forth fully

herein.



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       100.    In every New Hampshire agreement, there is an implied covenant that the parties

will act in good faith and fairly with another. Contracting parties are prohibited from behaving

in a manner inconsistent with the parties’ common purpose and justified expectations.

       101.    In particular, parties vested with discretion under a contract are obligated to act in

good faith with respect to the exercise of that discretion and are prohibited from exercising that

discretion to deprive a counterparty of the substantial value of the contract.

       102.    If, for any reason, Markel CATCo is found not to have breached the Employment

Agreement, Markel CATCo nonetheless breached its covenant of good faith and fair dealing to

Plaintiff. Markel and Markel CATCo were alter egos, or in a principal/agent relationship.

Markel is therefore liable along with Markel CATCo for violation of the implied covenant of

good faith and fair dealing.

       103.    When Skadden appeared at the offices of Markel CATCo in Bermuda in early

December of 2018, Skadden demanded the personal cell phones and other personal devices of

the Markel CATCo employees. Markel, acting through its agent Skadden, violated Plaintiff’s

privacy by informing him that he was required to turn over his personal cell phone for imaging,

while causing him to believe that only company accounts would be imaged. Without notice or

authorization, Markel, acting through its agent Skadden, caused Plaintiff’s personal accounts on

his personal cell phone to be imaged. Markel and Markel CATCo then used that improperly

obtained personal data as a pretextual basis to terminate Plaintiff’s employment with Markel

CATCo.

       104.    In addition, Markel replaced the Pre-2019 Code of Conduct with the Substitute

Code of Conduct to include personal relationships as conflicts of interest, without notice to the

Markel CATCo directors or officers including Plaintiff.



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          105.   Markel and Markel CATCo then terminated Plaintiff’s employment without

notice and opportunity to cure and denied him the Incentive Payments that had already vested on

December 31, 2018 on the basis that he had violated the Substitute Code of Conduct, about

which he knew nothing and which he had never signed.

          106.   Further, Markel and Markel CATCo announced publicly (a) that Plaintiff’s

employment was being terminated for engaging in a personal relationship, thereby further

violating his privacy rights; (b) contending that the relationship violated company policy, when

the policy had only been modified after January 1, 2019 to include personal relationships; and

(c) that the Government Inquiry was occurring simultaneously with the termination, thereby

falsely implying a relationship between the termination and the Government Inquiry.

          107.   Markel’s and Markel CATCo’s conduct as alleged above, individually and

collectively, violates the implied covenant of good faith and fair dealing.

          108.   Markel and Markel CATCo’s breach of the implied covenant of good faith and

fair dealing has caused, and continues to cause, injury to Plaintiff, including but not limited to,

failure to pay the Incentive Payments which he is due under the Employment Agreement, injury

to reputation, and distress and embarrassment attendant upon the invasion of his privacy rights.

                                COUNT III
          INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS
                                (MARKEL)

          109.   Plaintiff incorporates by reference Paragraphs 1 through 108 as if set forth fully

herein.

          110.   In the event that Markel is not deemed to be an alter ego of Markel CATCo or in a

principal/agency relationship with Markel CATCo, with regard to breaching Plaintiff’s contract

rights under the Employment Agreement and/or the implied covenant of good faith and fair



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dealing (Counts I and II), Markel nonetheless caused or contributed to causing injury and

damages to Plaintiff.

          111.   As discussed above, the Employment Agreement is a valid and enforceable

agreement between Plaintiff and Markel CATCo, and Plaintiff performed his obligations under

the Employment Agreement in every material respect before he was terminated without cause

and without notice.

          112.   Markel was fully aware of Plaintiff’s contractual relationship pursuant to the

Employment Agreement with Markel CATCo. However, Markel stood to benefit financially in a

substantial amount up to $65,900,000, and to benefit further financially by removing him as a

competitor in the narrow market that he shares with Markel CATCo.

          113.   As more fully alleged above, Markel acted intentionally and with actual malice to

cause Markel CATCo to (a) breach its contractual obligations to Plaintiff under the Employment

Agreement, (b) wrongfully terminate his employment, and (c) violate the covenant of good faith

and fair dealing implied by law.

          114.   Markel’s interference with Plaintiff’s contractual relationship with Markel

CATCo has caused, and continues to cause, injury to Plaintiff, including but not limited to, the

failure to receive the payments that he is due under the Employment Agreement.

                                  COUNT IV
                 UNJUST ENRICHMENT (MARKEL AND MARKEL CATCo)

          115.   Plaintiff incorporates by reference Paragraphs 1 through 114 as if set forth fully

herein.

          116.   Markel purchased CATCo, of which Plaintiff was the CEO, from QIC, and, in

connection therewith, caused the new entity, Markel CATCo, to enter into an Employment




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Agreement with Plaintiff that was of mutual benefit to Plaintiff on the one hand, and Markel

CATCo and Markel on the other.

          117.   Markel CATCo is a wholly owned subsidiary of Markel, such that Markel

benefits financially through Markel CATCo as a result of Plaintiff’s activities. For example, in

conjunction with Ms. Fredricks, Plaintiff raised $2.3 billion in the Fall of 2017 for Markel

CATCo’s private and public funds.

          118.   Markel, as the owner of Markel CATCo, realized substantial benefits from

Plaintiff’s performance under the Employment Agreement from September 2015 through

January 2019, reflected in the annual revenue of Markel CATCo from 2015 through 2019.

          119.   Markel, either itself or in conjunction with its subsidiary and alter ego Markel

CATCo, has retained for its own benefit the Incentive Payments due to Plaintiff.

          120.   In light of Markel’s misconduct culminating in the wrongful dismissal of Plaintiff,

it is unconscionable for Markel to retain the benefit of Plaintiff’s services and to withhold the

Incentive Payments from Plaintiff. Alternatively, it is unconscionable for Markel to passively

accept through Markel CATCo the benefits of Plaintiff’s services and to retain Plaintiff’s

Incentive Payments.

          121.   Markel and Markel CATCo have been unjustly enriched at the expense of

Plaintiff by their wrongful conduct, such conduct including without necessary limitation his

wrongful dismissal on pretextual grounds in order to avoid paying Incentive Payments due to

him and to Ms. Fredricks.

                                   COUNT V
                     DEFAMATION (MARKEL AND MARKEL CATCO)

          122.   Plaintiff incorporates by reference Paragraphs 1 through 121 as if set forth fully

herein.


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       123.    Plaintiff and Ms. Fredricks are private figures.

       124.    On January 18, 2019, Markel issued a press release stating that Plaintiff and Ms.

Fredricks violated “Markel policies relating to an undisclosed personal relationship,” and were

“no longer with the company” following “prompt action . . . taken” by Markel. The January 18,

2019 press release sandwiched these statements regarding Plaintiff’s and Ms. Fredricks’

dismissal, which constitute an invasion of privacy as discussed herein, between references to the

Government Inquiry, even though the personal relationship is entirely unrelated to the latter.

       125.    Markel      published      the     press     release     on     its    website    at

http://www.markelcorp.com/About-Markel/NewsRoom/Reuters2383940; issued the press release

to PRNewsire, Reuters, and an unknown number of other media organizations for further public

dissemination; and filed the press release with the Securities and Exchange Commission’s

EDGAR system on an 8-K Form.

       126.    On information and belief, Markel and others acting at its behest (including new

officers of Markel CATCo installed by Markel in conjunction with the dismissal of Plaintiff and

Ms. Fredricks) have likewise made oral statements to third parties, including investors in the

funds managed by Markel CATCo, that Plaintiff and Ms. Fredricks were terminated because

they breached their respective employment agreements, engaged in actions that subjected them

to a conflict of interest, and violated Markel’s code of conduct. These oral statement have

occurred, among other times, during a call with investors on or about January 29, 2019.

       127.    Defendants’ press release and oral statements regarding Plaintiff’s dismissal were

false and defamatory, because Plaintiff did not violate any Markel policy in existence prior to

January 1, 2019 and did not engage in actions that gave rise to a conflict of interest.




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       128.    Defendants’ press release and oral statements were also false and defamatory by

omission, inasmuch as they state that Plaintiff and Ms. Fredricks violated Markel’s policies,

while omitting that:

       a. With knowledge of Plaintiff and Ms. Fredricks’ relationship, but without prior notice

           of approval from the Markel CATCo Board, Markel created the Substitute Code of

           Conduct, which Markel modified after January 1, 2019 to require disclosure of

           personal relationships; and

       b. Markel did not notify either Plaintiff or Ms. Fredricks that it had created the

           Substitute Code of Conduct to prohibit undisclosed relationships, notwithstanding

           that Markel knew of their relationship.

       c. Plaintiff and Ms. Fredricks’ relationship was not in violation of Markel’s Code of

           Conduct, certainly as it existed prior to January 2019, because the Substitute Code of

           Conduct was never properly adopted, nor was it accepted by Plaintiff or Ms.

           Fredricks.

       129.    Defendants’ statements were also false and/or false by omission to the extent that

they state that Plaintiff and Ms. Fredricks were terminated in the course of Markel’s internal

review related to the Government Inquiry, while omitting the fact that the relationship and

termination were entirely unrelated to the Government Inquiry.

       130.    Under the circumstances in which the statements were made, a reasonable

observer would believe – incorrectly – that Plaintiff’s abrupt termination was for cause, namely

violating Markel’s Code of Conduct in connection with the Government Inquiry.




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          131.   Defendants’ written and oral statements were intentional, were made with actual

malice, ill will, and hostility, and were maliciously undertaken for their own financial gain at the

expense of Plaintiff.

          132.   Each of Defendants’ misrepresentations and misleading statements, and all of

them collectively, have held Plaintiff up to scorn, ridicule, disgrace or contempt in the mind of a

considerable and respectable segment of the community, and have damaged Mr. Belisle’s

reputation and business opportunities.

          133.   Defendants’ statements were not matters of legitimate public concern, and they

were not justified in publicly impugning Plaintiff’s professional and personal reputation.

          134.   At the time the statements were made, Defendants knew, or at very least should

have known, that the statements were false and/or that they omitted material information such

that they were misleading.

          135.   Defendants’ statements and omissions have caused, and continue to cause, injury

to Plaintiff’s personal and business reputations, the full extent of which is not yet known to

Plaintiff.

                                    COUNT VI
                 INVASION OF PRIVACY (MARKEL AND MARKEL CATCO)

          136.   Plaintiff incorporates by reference Paragraphs 1 through 135 as if set forth fully

herein.

          A.     Intrusion Upon Seclusion and Solitude

          137.   On or about December 4, 2018, Markel and Skadden demanded that Plaintiff

surrender his cell phone and other electronic devices to be imaged and/or searched. Markel and

Skadden disingenuously represented that even if a device was personal, Plaintiff was required to




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provide it for imaging, and led Plaintiff to believe that the imaging would be limited to corporate

accounts on the devices.

       138.    Based on these demands, Plaintiff provided his personal smartphones and other

personal and company-owned devices to Markel’s agents. Plaintiff did not authorize the imaging

or review of his personal, non-corporate accounts.

       139.    On or about January 17, 2019, Markel and Skadden again demanded that Plaintiff

make his personal smartphones available to Markel’s agents for copying. Again, based on the

demand and disingenuous representations, Plaintiff provided his phone but did not authorize the

imaging or review of his personal, non-corporate accounts.

       140.    Plaintiff’s smartphone includes extensive correspondence, documents, and

information related to Plaintiff’s private life that is entirely unrelated to either the Government

Inquiry or to Plaintiffs’ employment at Markel CATCo, and that he neither understood would be,

nor authorized to be, imaged or reviewed. Markel CATCo knew or should have known that

Plaintiff’s smartphone included extensive data concerning Plaintiff’s private life that he wished

to keep confidential.

       141.    As a result of the prior imaging if not otherwise, Markel CATCo, and their agents

knew that Plaintiff’s smartphone contained extensive information concerning Plaintiff’s private

life that was entirely unrelated to either the Government Inquiry or Plaintiffs’ employment at

Markel CATCo.

       142.    Defendant Markel CATCo and Markel acting as alter ego to Markel CATCo

further invaded Plaintiff’s privacy by unnecessarily and maliciously announcing that Plaintiff

had been terminated because of a personal relationship that purportedly violated a Company

policy that did not even exist at any relevant time.



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         143.     Plaintiff has been harmed by Defendants’ intrusions upon his solitude and

seclusion, both because his personal information was accessed without authorization and used as

an unlawful basis to terminate his employment, and because his personal information was

unnecessarily and maliciously publicly announced in a manner designed to embarrass and

interfere with his personal life and relationships.

         B.       Public Disclosure of Private Facts

         144.     Defendants discovered Plaintiff’s personal relationship with Ms. Fredricks

through review of Plaintiff’s personal correspondence and documents.

         145.     Plaintiff’s personal relationship with Ms. Fredricks was private and is of no

legitimate concern to the public.

         146.     Defendants publicized Plaintiff’s private personal relationship to the public at

large through, among other means, issuing a press release, filing a form 8-K with the Securities

and Exchange Commission, and making oral statements to Markel CATCo investors and

employees.

         147.     Plaintiff did not authorize or consent to Defendants’ communication of his private

personal relationship to the public at large.

         148.     Plaintiff has been harmed by Defendants’ public disclosure of private facts

concerning Plaintiff, both because his private information was used as an unlawful basis to

terminate his employment, and because it was publicly announced in a manner designed to

embarrass and interfere with his family relationships.

         C.       False Light

         149.     Defendants’ press release and oral statements regarding Plaintiff’s termination

were expressly false and defamatory, and/or false and defamatory by omission, as set forth

above.

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          150.   At the time they were made, Defendants knew that the statements were false

and/or that they omitted material additional information, which omissions caused the statements

to be misleading.      Defendants acted intentionally and maliciously.       Or, at a minimum,

Defendants recklessly disregarded whether these statements were false.

          151.   Defendants publicized these misrepresentations and misleading statements to the

public at large through, among other means, issuing a press release, filing an 8-K, and making

oral statements to Markel CATCo investors and employees.

          152.   Plaintiff has been harmed by Defendants’ conduct in publicly placing him in false

light.

          153.   Defendants’ invasions of Plaintiffs’ privacy through intrusion upon seclusion,

unauthorized accessing and use of private facts, unnecessary public disclosure of private facts,

and publicly placing Plaintiff in a false light have caused, and continue to cause, injury to

Plaintiff’s personal and business reputations, the full extent of which is not yet known to

Plaintiff.

                                  COUNT VII
                    DECLARATORY JUDGMENT OF ABANDONMENT
                   OF CONTRACTUAL OBLIGATIONS/PRIOR BREACH
                          (MARKEL AND MARKEL CATCO)

          154.   Plaintiff incorporates by reference Paragraphs 1 through 153 as if set forth fully

herein.

          155.   Beginning on September 9, 2015, Plaintiff undertook employment with Markel

CATCo pursuant to the terms of the Employment Agreement.

          156.   The Employment Agreement is a valid and enforceable agreement governed by

the laws of the State of New Hampshire. See Employment Agreement § 16.1.

          157.   Markel is a third-party beneficiary of the Employment Agreement (see


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Employment Agreement § 14.1) and, by reason of its actions described above, an alter ego of

Markel CATCo.

       158.    Plaintiff performed his obligations under the Employment Agreement in every

material respect.

       159.    On January 18, 2019, Markel CATCo terminated Plaintiff’s employment, at

Markel’s behest, and unequivocally stated that it would refuse to perform its continuing

obligations under the Employment Agreement, including, but not limited to, its obligations to

pay the Incentive Payments to Plaintiff.

       160.    Markel CATCo’s refusal to pay the Incentive Payments, totaling $65,950,000, is a

material breach of the Employment Agreement and, in combination with the termination of

Plaintiff’s employment without cause, comprises a complete abandonment of Markel CATCo’s

obligations under the Employment Agreement and a prior breach of the Employment Agreement

excusing Plaintiff from all further performance.

       161.    Pursuant to the Employment Agreement, Plaintiff agreed not to undertake any

business opportunity adverse to Markel CATCo or Markel for a period of twenty-four months

following his termination by Markel CATCo. Employment Agreement § 8.4.

       162.    By repudiating and abandoning their obligations under the Employment

Agreement and committing a prior breach of the Employment Agreement, Markel CATCo and

Markel are in total breach of the Employment Agreement with no possibility for future

performance.

       163.    In its January 18, 2019 Termination Letter, Markel CATCo asserted that Plaintiff

remains subject to various continuing, post-termination obligations to Markel CATCo under the

Employment Agreement “including, but not limited to, the confidentiality, non-compete, and



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non-solicit obligations.” Pursuant to the Employment Agreement, Markel was a third-party

beneficiary of certain of these obligations, in addition to being an alter ego of Markel CATCo.

By virtue of Markel CATCo’s and Markel’s abandonment and prior breach, Plaintiff is excused

from any further performance or forbearance under the Employment Agreement.

          164.   Plaintiff has suffered harm and continues to be harmed by Defendants’

contentions that he remains obligated to perform or forbear under the Employment Agreement.

          165.   Because Defendants assert that Plaintiff remains subject to continuing obligations

under the Employment Agreement notwithstanding Defendants’ abandonment of their

obligations, and Plaintiff therefore risks litigation from Defendants for breach of contract if he

undertakes any new business activity that implicates the non-compete and non-solicit provisions

of the Employment Agreement, an actual controversy exists between Plaintiff and Defendants,

such that this matter is justiciable now pursuant to 28 U.S.C. § 2201.

          166.   Plaintiff is entitled to a declaration that his post-termination obligations under the

Employment Agreement, including but not limited to his covenant not to compete with Markel

CATCo and Markel, are null and void.

                               COUNT VIII
             DECLARATORY JUDGMENT OF OBLIGATION TO INDEMNIFY
                       (MARKEL AND MARKEL CATCo)

          167.   Plaintiff incorporates by reference Paragraphs 1 through 166 as if set forth fully

herein.

          168.   Markel CATCo’s Bye-Laws require it to indemnify and hold harmless its current

and former directors and officers for conduct undertaken on behalf of Markel CATCo.

          169.   Plaintiff was a director of Markel CATCo beginning in 2015 and continuing

through his termination on January 18, 2019.



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       170.    The Government Inquiry concerns aspects of Markel CATCo’s business during

2017 and 2018 in which Plaintiff was directly involved in his capacity as CEO.

       171.    Plaintiff has retained counsel to represent him in connection with the Government

Inquiry and has incurred fees and costs as a result.

       172.    Plaintiff requested reimbursement of fees incurred to date and fees to be incurred

in the future from Markel CATCo in accordance with the Bye-Laws. Markel CATCo has

refused to reimburse Plaintiff and has stated that they will not reimburse his fees going forward.

       173.    Defendants have not stated or otherwise claimed that Plaintiff engaged in fraud or

dishonesty in connection with the Government Inquiry, nor did he.

       174.    By repudiating Plaintiff’s indemnity request, Markel has breached its obligation

to Plaintiff pursuant to the Bye-Laws.

       175.    As Markel CATCo’s alter ego or principal in a principal/agent relationship,

Markel is liable for Market CATCo’s refusal to honor its indemnification obligation

       176.    Plaintiff has suffered harm and continues to be harmed by Defendants’ refusal to

indemnify him.

       177.    Because Defendants refuse to honor their obligations to indemnify Plaintiff now

and in the future for his representation with respect to the Government Inquiry, and because

Plaintiff is already incurring legal fees and costs in connection with the latter, an actual

controversy exists between Plaintiff and Defendants, such that this matter is justiciable now

pursuant to 28 U.S.C. § 2201.

       178.    Plaintiff is entitled to a declaration that Defendants are obligated to indemnify

him in connection with the Government Inquiry, including, but not limited to, reimbursement of

his attorneys’ fees.



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                                   COUNT IX
               DECEPTIVE AND UNFAIR ACTS AND UNFAIR METHODS OF
              COMPETITION IN THE CONDUCT OF TRADE OR COMMERCE
                                  (MARKEL)

          179.     Plaintiff incorporates by reference Paragraphs 1 through 178 as if set forth fully

herein.

          180.     Defendant Markel has undertaken a campaign of deceptive and unfair acts to

harm Plaintiff in his trade or commerce. The effect and apparent intent of such acts is to impede

or prevent Plaintiff from competing with Markel’s wholly-owned subsidiary Markel CATCo in

the narrow market shared by Plaintiff and Markel CATCo. In addition, the acts permit Markel to

derive the financial benefits that flow to it when Markel CATCo is able to retain $65,950,000 in

Incentive Payments due and owing to Plaintiff.

          181.     Markel’s deceptive and unfair acts during his employment by Markel CATCo

include, but are not limited to:

                 a. Invading Plaintiff’s privacy by accessing communications unrelated to his

                    employment on multiple occasions;

                 b. Surreptitiously altering the Pre-2019 Code of Conduct as pretext for wrongfully

                    dismissing Plaintiff and Ms. Fredricks; and

                 c. Conspiring with Markel CATCo to find a pretextual reason for wrongfully

                    dismissing Plaintiff and Ms. Fredricks in order to avoid tens of millions of

                    dollars in Incentive Payments due, or about to be due, to them.

          182.     Markel’s deceptive and unfair acts after his wrongful dismissal include but are not

limited to:




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               a. Gratuitously publicizing Plaintiff’s wrongful dismissal, while falsely claiming

                  that he had breached Markel’s Code of Conduct and implicitly connecting his

                  dismissal with the Government Inquiry;

               b. Attempting to require Plaintiff to destroy all company electronic materials and

                  communications on his device, even though that could be deemed spoliation in

                  the context of the Government Inquiry;

               c. Insisting that all company electronic materials and communications on his device

                  be held in escrow, pending a notice period designed and intended to allow

                  Markel to seek an order prohibiting the release of the materials and

                  communications to him or the destruction of such materials and communications;

                  and

               d. Refusing to provide required indemnification unless he agrees to refrain from

                  asserting his contractual and legal rights in this Action in New Hampshire.

        183.     Defendant’s deceptive and unfair acts and unfair trade practices constitute a

violation of the New Hampshire Consumer Protection Act, N.H. Rev. Stat. Ann. ch. 358-A.

Alternatively, if Defendant’s acts are not found to have occurred within New Hampshire because

of Plaintiff’s change in residence to Florida, Defendant’s deceptive and unfair acts and unfair

trade practices constitute a violation of the Florida Deceptive and Unfair Trade Practices Act,

Fla. Stat. ch. 501 pt. II.

        184.     Defendant’s acts, both singly and collectively, have caused and continue to cause

harm to Plaintiff by sullying his reputation, denying his contractual benefits, and impeding him

from competing in the relevant market.




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       185.     At all relevant times, Defendant was engaged in trade or commerce, including the

provision of insurance and investment services within New Hampshire and Florida.

       186.     Markel’s’ unlawful acts have caused harm, injury and damage to Plaintiff.


                                    PRAYERS FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that judgment be entered in his favor for:

       a.       Contractual damages against both Defendants to Plaintiff in the amount of the

Incentive Payments as provided in the Employment Agreement or as required by the implied

covenant of good faith and fair dealing, and such other and consequential damages as are

appropriate;

       b.       In the alternative to prayer “a” as to Markel only and only in the event that Markel

is held not to be an alter ego or principal to Markel CATCo, damages for intentional interference

with Plaintiff’s contractual relations with Markel CATCo;

       c.       Compensation and damages against both Defendants to Plaintiff for harm caused

to his reputation and for emotional distress;

       d.       Enhanced compensatory damages for Defendants’ wanton and malicious tortious

conduct;

       e.       Treble damages and reasonable attorneys’ fees and costs for Defendant’s willful

and knowing violation of the New Hampshire Consumer Protection Act;

       f.       In the alternative to prayer “e” and only in the event that Florida law applies to

Plaintiff’s claim for deceptive trade practices, damages and reasonable attorneys’ fees and costs

for Defendant’s violation of the Florida Deceptive and Unfair Trade Practices Act;

       g.       Pre-judgment, post-judgment, and statutory interest;

       h.       Attorneys’ fees and costs on any other basis that may be available;


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       i.       A declaratory judgment that Plaintiff has no further obligations to either

Defendant under the Employment Agreement;

       j.       A declaratory judgment that Markel and Markel CATCo are obligated to

indemnify Plaintiff with respect to the Government Inquiry or related investigation; and

       k.       Such other and further legal relief as the Court may deem just and proper.


                                    JURY TRIAL DEMAND

       Plaintiff demands trial by jury of all claims so triable.

                                                   Respectfully submitted

                                                   ANTHONY BELISLE,

                                                   By his attorneys,


                                                   /s/ Joan A. Lukey
                                                   Joan A. Lukey (N.H. Bar ID #16246)
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Date: March 29, 2019




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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 29, 2019, I caused a true and correct copy of the foregoing
First Amended Complaint and Demand for Jury Trial, filed through the ECF system, to be served
electronically on all counsel of record identified on the Notice of Electronic Filing as registered
participants, and that copies of the above document will be served by email and by hand on the
following:

       James R. Carroll
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                                                       /s/ Joan A. Lukey

Dated: March 29, 2019




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